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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF VIRGINIA



 SOLAN HOLDING BV, SYNEXXUS
 COMPOSITES, LLC, and PATRICK
 COUGHLIN,
                                                    Civil Action No:
        Plaintiffs,

        v.

 GREGORY E. GLAROS, SYNEXXUS
 COMPOSITES, INC., and WILLIAM
 BURNS,

        Defendants.

                                         COMPLAINT

       AND NOW, come Plaintiffs Solan Holding BV (“Solan”), Patrick Coughlin (“Coughlin”),

and Synexxus Composites, LLC (“Synexxus Composites”), by and through their undersigned

counsel, and hereby file the within Complaint, stating the following in support thereof:

                                           PARTIES

       1.      Plaintiff Solan Holding BV (“Solan”) is a Dutch corporation with a principal place

of business in Bloemendaal, The Netherlands.

       2.      Plaintiff Synexxus Composites, LLC (“Synexxus Composites” or the “Company”)

is a Limited Liability Company organized under the laws of Virginia with a principal place of

business at 213 Hanover Street, Annapolis, Maryland 21401, and a registered office address of

5139 10th Rd. N., Arlington, Virginia, 22205.

       3.      Plaintiff Patrick Coughlin (“Coughlin”) is an adult individual residing at 3902

Foster Ave., Baltimore, Maryland 21224.

       4.      Defendant Gregory E. Glaros (“Glaros”) is an adult individual residing at 213

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Hanover Street, Annapolis, Maryland.

       5.      Defendant Synexxus, Inc. (“Synexxus”) is a Virginia Corporation with a principal

place of business at 213 Hanover Street, Annapolis, Maryland, 21401, and a registered office

address of 2425 Wilson Blvd Ste 400, Arlington, Virginia, 22201.

       6.      Defendant William Burns (“Burns”) is an adult individual residing at 8505

Prestwick Drive, La Jolla, California 92037.

                                VENUE AND JURISDICTION

       7.      This action arises under the federal securities laws, including § 10(b) of the

Securities and Exchange Act of 1934 (15 U.S.C. § 78j) and Exchange Act Rule 10b-5 (17 C.F.R.

§ 240.10b5), as well as under various Virginia statutes and common law.

       8.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331, and 15 U.S. Code § 78aa, as it presents federal questions under federal securities laws, and

pursuant to 28 U.S.C. § 1367 insofar as this Court has supplemental jurisdiction over related state

law claims, which are so intimately related to the violations of federal law that they form part of

the same case or controversy.

       9.      This Court has personal jurisdiction over Defendant Synexxus, Inc. because it is

domiciled in this Commonwealth.

       10.     The claims alleged against Glaros and Burns involve enforcement of liabilities and

duties created under the Securities and Exchange Act related to Synexxus Composites, LLC, a

Virginia Limited Liability Company.

       11.     This Court has personal jurisdiction over Defendants Glaros and Burns pursuant to

15 U.S.C. § 78aa, which affords nationwide personal jurisdiction and service of process over

defendants in such actions.



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       12.     This Court also has personal jurisdiction over Glaros and Burns pursuant to the

Virginia long-arm statute (Virginia Code §§ 8:01-328.1.A) because the causes of action alleged

against Glaros and Burns arise from their actions and omissions related to their transactions of

business with and for Synexxus, Inc. and Synexxus Composites, LLC, both corporations organized

under the laws of Virginia.

       13.     Venue is proper in the Eastern District of Virginia under 28 U.S.C. §§ 1391(b) and

(d) because this action arises out of all Defendants’ transaction of business Virginia, Defendants

are all subject to personal jurisdiction here, and Defendant Synexxus, Inc. is a resident of any

district in Virginia for purposes of venue.

                                              FACTS

       14.     Defendant Glaros is the founder, majority shareholder and CEO of Defendant

Synexxus.

       15.     On or around March 26, 2019, Defendant Synexxus and/or Defendant Glaros

formed Synexxus Composites, a Virginia Limited Liability Company.

       16.     Synexxus Composites is in the business of manufacturing and distributing

composite products, including maritime vessels.

       17.     Defendant Burns is the President of Synexxus, Inc., and has for some time acted as

an advisor and agent of both Synexxus, Inc. and Synexxus Composites.

       18.     Upon information and belief, Defendant Burns is also a shareholder of Synexxus.

       19.     Upon information and belief, at the time of its formation, Synexxus Composites

was a single member LLC, with 100% of the membership interests of the Company belonging to

founding member and Defendant, Synexxus, Inc.

       20.     At all relevant times, Defendant Glaros controlled, and still controls, all aspects of



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Synexxus Composites’ business endeavors, including, but not limited to, dealings with potential

investors, financial records, and matter relating to intellectual property.

        21.       Defendant Glaros personally made the misrepresentations alleged herein that

induced Plaintiffs Solan and Coughlin to invest in Synexxus Composites.

        22.       Defendant Glaros also personally made the fraudulent transfers detailed herein.

        23.       Defendants Glaros, Synexxus, Inc., and Burns used the instrumentalities of

interstate commerce and/or of the U.S. mail in furtherance of the fraudulent acts detailed herein,

including, but not limited to, the wrongfully induced and fraudulent transfers of money sent via

wire transfers.

        24.       Plaintiff Coughlin was an employee of Defendant Synexxus, Inc.

        25.       Plaintiff Coughlin was paid a salary by Synexxus, Inc., but also was compensated

in the form of shares in the Corporation.

        26.       At some point, Glaros and Coughlin agreed that Coughlin’s shares in Synexxus,

Inc. would convert to a 25% membership interest in Synexxus Composites.

        27.       As of the conversion of Plaintiff Coughlin’s shares, Synexxus, Inc. owned a 75%

membership interest in Synexxus Composites, and Plaintiff Coughlin owned a 25% membership

interest.

        28.       Synexxus Composites is party to a contract with the India Ministry of Defence (the

“IMOD”) to build a maritime vessel for use in India (the “India Contract”).

        29.       The vessel was to be based on the M-80 Stiletto (“Stiletto”), launched in 2006 by

the United States Secretary of Defense, Office of Force Transformation (“OFT”).

        30.       Defendant Glaros was the Project Manager employed by the OFT on the Stiletto

project.



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        31.    Stiletto was unique in that, among other things, it combined the use of composite

materials with patented technologies, many of which were invented by the late Charles Robinson

and Defendant Burns.

        32.    Charles Robinson and Defendant Burns are both named on the original patents,

which were later assigned to a company they co-founded known as M Ship Co. These patents are

collectively referred to herein as the “M Ship Co. Intellectual Property.”

        33.    Under the terms of the India Contract, Synexxus Composites is to be paid in stages

based on hitting various milestones as agreed by Synexxus Composites and the IMOD.

        34.    Synexxus Composites entered into a contract with Composite Builders, LLC, the

entity which would perform the physical build of the boat for the India project (“Composite

Builders”).

        35.    In or around October 2021, Synexxus Composites began seeking financing to

permit it to continue operations necessary to perform under the India Contract while it awaited

payment from the IMOD.

        36.    David Monks, an associate of Defendant Glaros, and a representative of Composite

Builders, introduced Mr. Glaros by e-mail to Ms. Patricia Brooke Kerschbaumer, who was

employed as the United States program manager and owner’s representative for a high-

performance carbon fiber 52-foot racing yacht under construction at Composite Builders at that

time.

        37.     At Glaros’ request, a Composite Builders representative asked Ms. Kerschbaumer

whether she would be interested in learning more about the boat project underway for the IMOD.

        38.    On November 3, 2021, Ms. Kerschbaumer participated in an introductory meeting

via telephone with a representative of Composite Builders, and the two members of Synexxus



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Composites at the time, Defendant Glaros and Plaintiff Coughlin.

       39.     During that meeting, Glaros provided information about the project and informed

Ms. Kerschbaumer that he needed $2,000,000 in immediate funding.

       40.     Mr. Glaros did not request a loan; he stated that he was searching for an equity

partner with knowledge of the industry.

       41.     Also on November 3, 2021, Glaros e-mailed Ms. Kerschbaumer a document titled

“SYNEXXUS Composites LLC Request for Funding.”

       42.     Consistent with their discussion during the telephone conference, the Request for

Funding contains the Company’s “Immediate Ask” for a “Convertible note ($1.5-$2M) with 10-

20% equity conversion.”

       43.     Ms. Kerschbaumer contacted her friend and colleague Mr. Cesar Elizaga, principal

of Plaintiff Solan, to discuss this investment opportunity.

       44.     Mr. Elizaga has vast history of investments and expertise in startups, carbon fiber

composite construction, drones, digital technology, and shipbuilding.

       45.     Solan is not in the business of lending money; it is solely an investment company.

       46.     After speaking with Mr. Elizaga, Ms. Kerschbaumer e-mailed Glaros a list of due

diligence questions, to which he responded the same day.

       47.     Many of Ms. Kerschbaumer’s questions were geared towards determining the

ownership of the intellectual property necessary to fulfill the India Contract (i.e., the M Ship Co

Intellectual Property).

       48.     In his response, Glaros represented to Ms. Kerschbaumer that “SYNEXXUS

COMPOSITES LLC is a stand-alone entity. SYNEXXUS Inc (of which the founder is the owner)

funded the early development but has transferred any rights or ownership of the vessel design. All



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rights, patents and designs were transferred to SYNEXXUS Composites LLC.”

       49.     Prior to the conversion of Plaintiff Coughlin’s Synexxus, Inc. shares into a 25%

membership interest in Synexxus Composites, Glaros represented to Coughlin as well that

Synexxus Composites owned all of the M Ship Co. Intellectual Property.

       50.     Glaros further stated that, “The vessel was designed . . . by William Burns at M

Ship Co. M Ship Co. was dissolved April 2016. Mr. Burns is now a key advisor for SYNEXXUS

and is part of its design and engineering team.”

       51.     Glaros stated that “SYNEXXUS Composites owns all rights, designs and all

patents. A separate attachment is provided as proof along with its Patent portfolio. The US Navy

has acknowledged SYNEXXUS [Inc.’s] ownership in a recently renegotiated Cooperative

Research and Development Agreement (CRADA).”

       52.     The Patent portfolio provided by Glaros included the M Ship Co. Intellectual

Property.

       53.     As proof that Synexxus Composites owned all intellectual property necessary to

fulfill the India Contract, including the M Ship Co Intellectual Property, Glaros sent Ms.

Kerschbaumer a copy of an Intellectual Property Assignment Agreement, purportedly assigning

all of the M Ship Co. Intellectual Property from Synexxus, Inc. to Synexxus Composites.

       54.     The CRADA provided by Defendant Glaros as proof that the US Navy

acknowledges ownership of the intellectual property related to Stiletto states that, “SYNEXXUS

has conducted extensive design work in the improvement of the current platform as well as future

platforms and owns all intellectual property pertaining to the vessel.”

       55.     In his November 3, 2021 letter, in response to Solan’s question “Who owns the IP?

What is the ownership history of the IP?,” Glaros reiterated that “SYNEXXUS Composites LLC



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owns all IP, possesses all drawings, engineering files, software, hardware, and electronic designs.”

       56.     After reviewing Mr. Glaros’ responses and discussing them with Mr. Elizaga, Ms.

Kerschbaumer sent additional inquiries the next day, November 4, 2021.

       57.     Consistent with their prior discussions and Glaros’ “Immediate Ask,” Ms.

Kerschbaumer informed Glaros that Solan was “positioned to offer 2M USD for 20% of the

Company. This can be structured as a convertible note to speed the capitalization process with

assurance and guarantees that it will be converted into share capital.”

       58.     Glaros responded that “SYNEXXUS Composites LLC is amenable to these terms.”

       59.     Glaros also represented that, at the time, he owned 75% of the equity in the

Company at that time and that Patrick Coughlin owned 25%.

       60.     On November 6, 2021, Mr. Glaros, Mr. Coughlin, Mr. Elizaga, and Ms.

Kerschbaumer had a Zoom meeting to discuss Glaros’ request for an equity investment.

       61.     Glaros told Mr. Elizaga and Ms. Kerschbaumer that there was no operating

agreement in place for Synexxus Composites.

       62.     Prior to the conversion of Plaintiff Coughlin’s shares in Synexxus, Inc. to a 25%

membership interest in Synexxus Composites, Glaros had also represented to Plaintiff Coughlin

that no operating agreement was in place for Synexxus Composites.

       63.     Glaros told Mr. Elizaga and Ms. Kerschbaumer that Synexxus Composites was

being run as a member-managed LLC.

       64.     The intellectual property necessary to perform under the India Contract, including

the M Ship Co. Intellectual Property, and the India Contract itself, were the only assets owned by

Synexxus Composites that gave the entity any value.

       65.     Based on Glaros’ representations to Ms. Kerschbaumer and Mr. Elizaga regarding



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the intellectual property and management of the LLC, Solan agreed to invest $2,000,000 in

exchange for a 20% membership interest in Synexxus Composites.

       66.     Similarly, Plaintiff Coughlin’s agreement to convert his shares in Synexxus, Inc.

into a 25% membership interest in Synexxus Composites was made in reliance on Glaros’ false

representations with respect to intellectual property and management of the LLC.

       67.     Mr. Elizaga noted that the investment would be covered by a debt-to-equity

instrument in the form of a Convertible Note so as to ensure that all proper tax filings could be

made given that he would be investing in a U.S. LLC as a foreign national.

       68.     Mr. Glaros and Mr. Coughlin agreed to these terms and asked for assurance that the

$2,000,000 would be considered a guaranteed conversion, and not a repayable loan.

       69.     Mr. Elizaga assured Mr. Glaros and Mr. Coughlin that the $2,000,000 was a

guaranteed investment and conversion, as agreed.

       70.     On November 8, 2021, Synexxus Composites entered into a Convertible

Promissory Note with Solan for $2,000,000.00 (the “November 2021 Note”).

       71.     Under the express terms of the November 2021 Note, “Synexxus Composites, LLC

is a standalone entity which through proper legal conveyance has the full and unencumbered rights

to manufacture, market and sell multi-role carbon vessels based upon the M80 Stiletto currently

owned and operated by the United States Navy.”

       72.     The November 2021 Note also states that “Synexxus Composites owns all assets

and intellectual property related to the M80 Stiletto vessel.”

       73.     In a January 2022 employment agreement between Synexxus, Inc. and Defendant

Burns, Burns expressly states that he is retaining ownership of certain M Ship Co. patents.

       74.     In or around February 2022, Ms. Kerschbaumer sat with Defendants Glaros and



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Burns while Defendants had dinner.

       75.     During that meeting, Glaros told Ms. Kerschbaumer, in Defendant Burns’ presence,

the story of how Burns purportedly had gained the rights to the M Ship Co. Intellectual Property.

       76.     Defendant Burns confirmed the story and intentionally withheld the information

that he was never granted any such rights.

       77.     Defendants Glaros and Burns knowingly and intentionally withheld the information

from Plaintiffs that neither Synexxus, Inc. nor Synexxus Composites had ever owned any rights to

the M Ship Co. Intellectual Property.

       78.     Upon information and belief, Glaros and Burns had either an express or implicit

agreement to misrepresent the ownership status of the M Ship Co. Intellectual Property to potential

investors, including Solan and Coughlin.

       79.     The November 2021 Note provided that the $2,000,000 principal would convert to

a 20% membership interest in Synexxus Composites if not repaid by December 31, 2021.

       80.     However, as the Parties had confirmed during their November 6, 2022 Zoom

meeting, the Parties had always intended that the November 2021 Note would convert to a 20%

interest, and never planned for the $2,000,000 to be repaid to Solan.

       81.     Consistent with this understanding, Solan was immediately admitted and treated as

a member of Synexxus Composites, owning a 20% membership interest.

       82.     Following execution of the November 2021 Note, Mr. Elizaga and Ms.

Kerschbaumer, on behalf of Solan, became heavily involved in all aspects of the project, including,

but not limited to, financial relations, vendor relations, government relations, website and logo

design, marketing, and strategic planning and development.

       83.     Mr. Elizaga and Ms. Kerschbaumer were also heavily involved in procuring the



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bank guarantees required by the IMOD under the terms of the India Contract.

       84.     Mr. Elizaga and Ms. Kerschbaumer considered themselves and acted as partners to

Glaros and Coughlin, attended weekly status meetings, conferred regarding how to expend funds,

and liaised with key vendors and suppliers.

       85.     Over the course of four days in March 2022, Mr. Elizaga and Ms. Kerschbaumer,

along with Mr. Glaros and Mr. Coughlin, attended a series of meetings with a four-person

delegation from the IMOD in Holland, MI and Washington, D.C.

       86.     At these meetings, Mr. Glaros introduced Mr. Elizaga to the India delegation as the

Chairman of the Board for Synexxus Composites.

       87.     Mr. Glaros introduced Ms. Kerschbaumer to the India delegation as a strategic

advisor for Synexxus Composites.

       88.     Mr. Elizaga attended every meeting held with the delegation, both on site in

Michigan, and in Washington, D.C., and Ms. Kerschbaumer was present for most meetings.

       89.     Requiring further financing, Synexxus Composites entered into a second

convertible note with Solan on December 20, 2021 (the “December 20, 2021 Note”).

       90.     Under the December 2021 Note, Solan loaned Synexxus Composites an additional

$1,000,000, to be converted to a 10% equity interest if unpaid by the deadline.

       91.     Although structured as a convertible note to protect Solan’s interests in the event

of nonpayment, all Parties expected that payments on the India Contract were imminent. Solan

never intended to own more than 20% of the Company. The intent of the Parties was only to keep

the Company afloat pending payment from the IMOD.

       92.     On January 13, 2022, Solan and Synexxus Composites executed an Addendum to

the December 2021 Note providing for an additional $4,000,000 in financing under the same terms



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as the December 2021 Note, but with a payment due date of March 31, 2022.

       93.     The consideration for Solan’s additional contribution was the potential conversion

of that $4,000,000.00 into an additional 40% membership interest in the Company, which was

clearly understood by all parties.

       94.     Pursuant to the December 2021 Note, as amended, a total of $5,000,000 was due to

be repaid by March 31, 2022.

       95.     The November and December 2021 Notes, as amended, are hereinafter collectively

referred to as the “Convertible Notes.”

       96.     The December 2021 Note, as amended, also required Synexxus Composites to

circulate an operating agreement to all members that would require a supermajority of 80% for

approval.

       97.     This provision was included because Mr. Glaros had repeatedly represented to Mr.

Elizaga, Mr. Coughlin, and Ms. Kerschbaumer that Synexxus Composites was a newly formed

company with no operating agreement in place.

       98.     Mr. Glaros told Mr. Elizaga, Mr. Coughlin, and Ms. Kerschbaumer that he had an

operating agreement in place for Synexxus, Inc. that he could revise and present as a draft operating

agreement for Synexxus Composites.

       99.     On or around February 10, 2022, Mr. Glaros sent a draft operating agreement for

Mr. Elizaga’s review with a schedule showing the respective membership interests of the parties,

including Mr. Coughlin’s 20% interest and Solan’s 20% interest.

       100.    That draft operating agreement was never shared with Mr. Coughlin or voted on by

the members.

       101.    Solan’s purpose in providing the financing for the India Contract under the



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December 2021 Note, as amended, was to protect its investment by permitting operations to

continue as usual without diluting the shares of the existing Members.

       102.    Solan was concerned that Synexxus Composite’s financial difficulties would result

in the nonpayment of employees and key suppliers, among others, who were indispensable to the

project.

       103.    At all times, Solan was hopeful that Synexxus Composites would be able to repay

the $5,000,000.

       104.    Although all hoped for prompt payment by the IMOD that would permit repayment

of the loan, Solan still required consideration for the additional cash it provided the Company. But

for the potential for an additional 40% conversion, Solan would not have entered into the

Addendum.

       105.    As the deadline for repayment approached, Solan made at least two offers to extend

the due date on the December 2021 Note.

       106.    Mr. Glaros refused, stating that he would pay back the funds prior to the due date.

       107.    The majority of the $5,000,000 Solan loaned Synexxus Composites went to secure

bank guarantees, and at the time of the repayment deadline, the IMOD still had not paid any money.

       108.    Plaintiffs Solan and Coughlin were paramount in securing the bank guarantees for

Synexxus Composites.

       109.    All delays in acquiring the bank guarantees were due to Glaros’ poor credit, lack of

understanding of complex financial instruments, and Synexxus Composites’ dire financial state.

       110.    Synexxus Composites was no longer able to pay its key vendors and suppliers.

       111.    Solan began hearing of delayed payments and issues caused thereby, including, but

not limited to, a failure on Glaros’ part to pay Composite Builders in accordance with the agreed-



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upon payment schedule.

       112.    Due to nonpayment, Composite Builders ceased working on the project, and

Synexxus Composites was denied access to the buildings housing both the boat hull and the molds.

       113.    The due date for the $5,000,000.00 payment came and went with no communication

from Glaros regarding repayment.

       114.    On March 31, 2022, at Glaros’ request, Coughlin used $20,000 of his personal

funds to help to procure an Integrity Pact Bank Guarantee required under the India Contract.

       115.    On April 1, 2022, the December 2021 Note, as amended, converted to a 50%

membership interest in favor of Solan, which now holds a total 70% membership interest in

Synexxus Composites.

       116.    Upon conversion of the December 2021 Note, Synexxus, Inc. held a 22.5%

membership interest, and Patrick Coughlin held a 7.5% membership interest in the Company.

       117.    It was clear that Glaros was mismanaging the project.

       118.    Solan and Coughlin, the remaining members holding a cumulative 77.5% of

membership interests, voted to terminate Glaros’ employment and duties as an officer of Synexxus

Composites.

       119.    Solan and Coughlin took this action to prevent the implosion of the project and a

breach of the India Contract.

       120.    The vote to terminate Glaros’ employment was done in conformance with the

Virginia Limited Liability Act, which governs Synexxus Composites as a Virginia LLC.

       121.    Glaros was notified of his termination on April 7, 2022.

       122.    Glaros disputes that Solan and Coughlin have the authority to terminate his

employment, despite the exercise of their powers as majority in interest.



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       123.   Even after Synexxus Composites defaulted on the $5,000,000 loan, Solan

continued to make loans to the Company for payment of payroll and certain vendors.

       124.   On April 8, 2022, Solan loaned Synexxus Composites an additional $80,000.00 to

cover the Company’s payroll obligations after Glaros ordered a transfer of money to the payroll

company with knowledge that no funds existed to be transferred.

       125.   Despite foregoing financial compensation at various times throughout his

employment with Synexxus, Inc. and Synexxus Composites, Plaintiff Coughlin also made several

loans to cover payroll expenses.

       126.   Over time, Mr. Coughlin loaned and/or invested approximately $335,000 of his

personal funds to keep Synexxus Composites and the India Contract afloat.

        127. On April 8, 2022, a little over a week after Coughlin had put up $20,000 for the

benefit of the Company, Glaros sent Coughlin a letter, ostensibly terminating Coughlin’s

employment with the Company for a purported failure to perform in his position as COO.

        128. Mr. Coughlin never had any issues with his behavior or work performance.

        129. Mr. Coughlin often completed tasks that were not is responsibility.

        130. For example, Glaros requested that Mr. Coughlin create an operations manual for

business processes. In response, Coughlin created several processes and organization charts that

Glaros never implemented.

        131. Additionally, Mr. Coughlin established key performance indicators for evaluating

Synexxus Composites’ performance by using the Monday.com platform. None of these indicators

were utilized by Glaros.

        132. Mr. Coughlin was able to accurately track company finances, despite Mr. Glaros’

refusal to grant access to the Synexxus Composites and Synexxus Inc. inventory systems on



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Quickbooks.

        133. Also on April 8, 2022, Solan learned that Glaros, on behalf of Synexxus, Inc. and

Synexxus Composites, had delivered an Operating Agreement for Synexxus Composites dated

April 15, 2019 to banking institutions that hold the Company’s accounts.

        134. Despite their requests for documents before investing in the Company, Glaros never

informed the other Members of any Operating Agreement, and expressly represented to them that

none existed.

        135. The Operating Agreement ostensibly gave Mr. Glaros, as managing member of the

LLC, sole power to act on behalf of Synexxus Composites.

        136. In response to Solan’s letter terminating Glaros’ employment, counsel for Glaros

sent Solan’s counsel a letter denying that Solan held a majority membership interest in Synexxus

Composites.

        137. At that time, Glaros’ counsel also informed Solan, for the first time, that an

operating agreement was in place for Synexxus Composites which made Glaros the sole managing

member.

       138.     Solan has made payments to Composite Builders so that it may cover its payroll

obligations and other necessary expenses.

       139.     Solan has now invested over $7.25 million in Synexxus Composites.

       140.     On April 25, 2022, IMOD finally paid the Stage One payment of approximately

$3.2 million, which was wired to the Synexxus Composites account held with J.P. Morgan.

       141.     Glaros is the only authorized signatory on the J.P. Morgan account.

       142.     Prior to the circumstances giving rise to this litigation, Solan, Glaros, and Coughlin

had agreed to a “Spend Plan,” which designated which vendors, suppliers, etc., would be paid upon



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receipt of the Stage One Payment from India.

       143.    Upon information and belief, instead of making the necessary payments agreed

upon by the Members, including payments due to Composite Builders, Glaros paid himself and

Defendant Burns tens of thousands of dollars in “salary” payments.

       144.    Upon information and belief, Glaros has also caused other Synexxus Composites

monies to be wrongfully diverted to himself and his personal creditors, as well as to Synexxus,

Inc.

       145.    For example, Glaros has paid tens of thousands of dollars in personal tax liabilities

from the Synexxus Composites bank account with JP Morgan.

       146.    Glaros claims a salary of $300,000 - $400,000, despite the fact that Synexxus

Composites is effectively insolvent.

       147.    Glaros has also wrongfully paid Synexxus, Inc. expenses from the Synexxus

Composites bank account.

       148.    For example, in July 2022, Glaros authorized a $14,858 payment to a vendor in

connection with a Synexxus, Inc. project with which Synexxus Composites has no affiliation.

       149.    Upon information and belief, Glaros has created false, backdated purchase orders

on behalf of Synexxus, Inc. to wrongfully divert money from Synexxus Composites to Synexxus.

       150.    For example, on or around January 13, 2022, Glaros told representatives from the

IMOD that the electronic keel vessel integration system (“EKeel”) had been ordered from

Synexxus, Inc. pursuant to a September 11, 2021 purchase order.

       151.    In or around late March/early April 2022, Glaros created a new purchase order for

EKeel for $1.5 million, and backdated that invoice to September 1, 2021, with payment terms of

net 30, creating the appearance of an additional $1.5 million due from Synexxus Composites to



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Synexxus, Inc.

        152.     Upon information and belief, Glaros then paid Synexxus $1.5 million out of

Synexxus Composite funds.

        153.     Upon information and belief, Glaros also is wrongfully diverting funds to

Synexxus, Inc. by having Synexxus Composites pay employees of Synexxus, Inc. with a 15-20%

“mark-up” under a nonexistent services agreement between Synexxus Composites and Synexxus,

Inc. (the “Services Agreement”).

        154.     To the extent a Services Agreement actually exists between Synexxus Composites

and Synexxus, Inc., it was never disclosed to Solan as a potential investor or to either Solan or Mr.

Coughlin as Members in the LLC.

        155.     Glaros has repeatedly represented to Solan and Coughlin that all key vendors and

suppliers have been paid, that work on the India Contract is on track, and that Glaros secured an

extension of the deadline to complete performance under the India Contract due to issues related

to the pandemic. These representations are all false.

        156.     Glaros even testified in a recent sworn affidavit that he personally “successfully

negotiated the acceptance of a force majeure clause which will allow for the vessel to be delivered

four months after the originally scheduled delivery of 12 months after contract award.” This

statement is false.

        157.     No extension on time to complete the India Contract has been negotiated with the

IMOD.

        158.     Key vendors and suppliers have not been paid in full.

        159.     Work has been effectively halted on the India Contract for months.

        160.     Glaros has represented to many of Plaintiff Coughlin’s co-workers and associates



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that he is incompetent, malicious, and dishonest.

       161.    Glaros has represented to Plaintiffs’ associates, co-workers, vendors, suppliers, and

others, that Plaintiffs are wrongfully claiming a majority interest in Synexxus Composites, which

Glaros knows to be untrue.

       162.    Upon information and belief, Glaros has represented to Plaintiffs’ associates, co-

workers, vendors, suppliers, and others, that Plaintiffs are liars, predatory lenders, and

professionally incompetent.

       163.    All of these representations are false.

       164.    Glaros knew at the time the representations were made, and stills knows, that all of

these statements are false.

       165.    Glaros has not paid numerous key vendors and suppliers, which has resulted in a

complete halt in production.

       166.    Glaros has not secured any extension for performance under the India Contract, and

now admits that completing the project by the August 31, 2022 deadline is impossible.

       167.    Neither Synexxus, Inc. nor Synexxus Composites has ever owned any rights to the

M Ship Co. Intellectual Property.

       168.    Defendant Burns does not, and has not, for many years, owned any rights to the M

Ship Co. Intellectual Property.

       169.    Glaros knew, or should have known, that Burns had no rights to the M Ship Co.

Intellectual Property.

       170.    Partially because Synexxus Composites does not own the M Ship Co. Intellectual

Property necessary to perform under the India Contract, it is unlikely that the India Contract will

survive.



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         171.   Because Synexxus Composites does not own the M Ship Co. Intellectual Property,

and holds only a contract with India under which it is impossible to perform, Synexxus Composites

in fact holds no assets of any value, and any membership interests purchased by Solan and

Coughlin are essentially worthless.

         172.   Glaros knew, or should have known, at the time he sold membership interests to

Plaintiffs, that Plaintiffs were purchasing essentially valueless securities, but purposely withheld

this information from Plaintiffs.

         173.   Mr. Glaros’ misrepresentations, mismanagement of Synexxus Composites, has

resulted in significant economic and irreparable reputational harm to Plaintiffs.


                      COUNT I - FEDERAL SECURITIES FRAUD
                SOLAN AND COUGHLIN AGAINST DEFENDANT GLAROS

         174.   Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

         175.   As described herein, Glaros and Burns made misrepresentations and omissions of

material fact to Solan and Mr. Coughlin in connection with the purchase and sale of the Convertible

Notes.

         176.   Each of the Convertible Notes is a security.

         177.   As described herein, Glaros and Burns made representations to Solan and Mr.

Coughlin with respect to the ownership of the intellectual property necessary to fulfill the India

Contract.

         178.   Glaros knew, or at the very least, should have known, at the time he represented to

Solan and Coughlin that Synexxus Inc., and/or Synexxus Composites, LLC owned all necessary

intellectual property, that those statements were false.




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         179.   Burns knew, or at the very least, should have known, that neither he nor Synexxus

Composites had ownership of the intellectual property necessary to perform under the India

Contract.

         180.   Glaros and Burns made these statements and omissions with respect to intellectual

property ownership with the specific intent to induce Solan and Coughlin into investing in

Synexxus Composites, LLC.

         181.   As described herein, Solan and Coughlin invested in Synexxus Composites, LLC

in reliance on Glaros’ and Burns’ misrepresentations and omissions regarding ownership of the

intellectual property related to Stiletto.

         182.   Solan and Coughlin’s reliance on Glaros’ and Burns’ statements and omissions was

reasonable, especially given the provision of an assignment agreement, patent portfolio, and

contract with the United States Navy, all supporting Glaros’ representations that Synexxus

Composites owned all of the M Ship Co. Intellectual Property.

         183.   As a direct and proximate result of Glaros’ and Burns’ misrepresentations and

omissions regarding ownership of M Ship Co. Intellectual Property, Solan and Mr. Coughlin have

suffered substantial damages, the exact amount to be proven at trial.

            COUNT II - VIOLATION OF VIRGINIA SECURITIES FRAUD LAWS
               SOLAN AND COUGHLIN AGAINST DEFENDANT GLAROS

         184. Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

         185. As described herein, Glaros and Burns made misrepresentations and omissions of

material fact to Solan and Mr. Coughlin in connection with the purchase and sale of the Convertible

Notes.

         186. Each of the Convertible Notes is a security.



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        187. As described herein, Glaros and Burns made representations to Solan and Mr.

Coughlin with respect to the ownership of the M Ship Co. Intellectual Property.

        188. Glaros knew, or at the very least, should have known, at the time he represented to

Solan and Coughlin that Synexxus Inc., and/or Synexxus Composites, LLC owned all necessary

intellectual property, that those statements were false.

        189. Burns knew, or at the very least, should have known, that neither he nor Synexxus

Composites had ownership of the intellectual property necessary to perform under the India

Contract.

        190. Glaros and Burns made these statements and omissions with respect to intellectual

property ownership with the specific intent to induce Solan and Coughlin into investing in

Synexxus Composites, LLC.

        191. As described herein, Solan and Coughlin invested in Synexxus Composites, LLC

in reliance on Glaros’ and Burns’ misrepresentations and omissions regarding ownership of the M

Ship Co. Intellectual Property.

       192.    Solan and Coughlin’s reliance on Glaros’ and Burns’ statements and omissions was

reasonable, especially given the provision of an assignment agreement, patent portfolio, and

contract with the United States Navy, all supporting Glaros’ representations that Synexxus

Composites owned all of the M Ship Co. Intellectual Property.

        193. As a direct and proximate result of Glaros’ and Burns’ misrepresentations and

omissions regarding ownership of the M Ship Co. Intellectual Property, Solan and Mr. Coughlin

have suffered substantial damages, the exact amount to be proven at trial.


                          COUNT III - FRAUD
      SOLAN AND COUGHLIN AGAINST DEFENDANTS GLAROS AND BURNS



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         194.   Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

         195.   As described herein, Glaros and Burns made misrepresentations and omissions of

material fact to Solan and Mr. Coughlin in connection with the purchase and sale of the Convertible

Notes.

         196.   As described herein, Glaros and Burns made representations to Solan and Mr.

Coughlin with respect to the ownership of the intellectual property necessary to fulfill the India

Contract.

         197.   Glaros knew, or at the very least, should have known, at the time he represented to

Solan and Coughlin that Synexxus Inc., and/or Synexxus Composites, LLC owned all necessary

intellectual property, that those statements were false.

         198.   Burns knew, or at the very least, should have known, that neither he nor Synexxus

Composites had ownership of the intellectual property necessary to perform under the India

Contract.

         199.   Glaros and Burns made these statements and omissions with respect to intellectual

property ownership with the specific intent to induce Solan and Coughlin into investing in

Synexxus Composites, LLC.

         200.   As described herein, Solan and Coughlin invested in Synexxus Composites, LLC

in reliance on Glaros’ and Burns’ misrepresentations and omissions regarding ownership of the

intellectual property related to Stiletto.

         201.   Solan and Coughlin’s reliance on Glaros’ and Burns’ statements and omissions was

reasonable, especially given the provision of an assignment agreement, patent portfolio, and

contract with the United States Navy, all supporting Glaros’ representations that Synexxus

Composites owned all of the M Ship Co. Intellectual Property.



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         202.   As a direct and proximate result of Glaros’ and Burns’ misrepresentations and

omissions regarding ownership of the M Ship Co. Intellectual Property, Solan and Mr. Coughlin

have suffered substantial damages, the exact amount to be proven at trial.

                 COUNT IV - NEGLIGENT MISREPRESENTATION
         SOLAN AND COUGHLIN AGAINST DEFENDANT GLAROS AND BURNS

         203.   Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

         204.   As described herein, Glaros and Burns made misrepresentations and omissions of

material fact to Solan and Mr. Coughlin in connection with the purchase and sale of the Convertible

Notes.

         205.   As described herein, Glaros and Burns made representations to Solan and Mr.

Coughlin with respect to the ownership of the M Ship Co. Intellectual Property.

         206.   Glaros knew, or at the very least, should have known, at the time he represented to

Solan and Coughlin that Synexxus Inc., and/or Synexxus Composites, LLC owned all necessary

intellectual property, that those statements were false.

         207.   Burns knew, or at the very least, should have known, that neither he nor Synexxus

Composites owned the M Ship Co. Intellectual Property.

         208.   Glaros and Burns made these statements and omissions with respect to intellectual

property ownership with the specific intent to induce Solan and Coughlin into investing in

Synexxus Composites, LLC.

         209.   As described herein, Solan and Coughlin invested in Synexxus Composites, LLC

in reliance on Glaros’ and Burns’ misrepresentations and omissions regarding ownership of M

Ship Co. Intellectual Property.

         210.   Solan and Coughlin’s reliance on Glaros’ and Burns’ statements and omissions was

reasonable, especially given the provision of an assignment agreement, patent portfolio, and

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contract with the United States Navy, all supporting Glaros’ representations that Synexxus

Composites owned all of the M Ship Co. Intellectual Property.

       211.    As a direct and proximate result of Glaros’ and Burns’ misrepresentations and

omissions regarding ownership of the M Ship Co. Intellectual Property, Solan and Mr. Coughlin

have suffered substantial damages, the exact amount to be proven at trial.


                         COUNT V - DEFAMATION PER SE
                      COUGHLIN AGAINST DEFENDANT GLAROS

       212.    Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

       213.    As described herein, Glaros has made multiple statements to third parties tending

to harm Mr. Coughlin’s reputation.

       214.    Specifically, Glaros made false statements intending to besmirch Plaintiff

Coughlin’s work performance, reliability, competence, honesty, integrity, and general ability to

engage in Plaintiff Coughlin’s profession.

       215.    Glaros knew that the statements made about Plaintiff Coughlin’s work performance

as detailed herein were false.

       216.    Glaros made these false statements about Plaintiff Coughlin without justification or

privilege.

       217.    Upon information and belief, Glaros has made false statements regarding Plaintiff

Coughlin’s work performance both orally and in writing.

       218.    Glaros made the statements with the intent to disparage Mr. Coughlin and harm his

reputation in his community.

       219.    The false statements Glaros made were understood by the recipients to refer to Mr.

Coughlin.


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       220.    Glaros’ statements with respect to Plaintiff Coughlin are defamatory per se.

       221.    As a direct and proximate result of Glaros’ defamatory statements, Plaintiff

Coughlin has suffered, and continues to suffer, significant economic and reputational damages,

with the exact amount to be determined at trial.

             COUNT VI – CIVIL CONSPIRACY TO COMMIT FRAUD
      SOLAN AND COUGHLIN AGAINST DEFENDANTS GLAROS AND BURNS

       222.    Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

       223.    Upon information and belief, Defendants Glaros and Burns had an agreement

pursuant to which Glaros was permitted to represent that Synexxus, Inc., and later, Synexxus

Composites, owned all rights in and to the M Ship Co. Intellectual Property.

       224.    At all relevant times, Defendant Burns has known that he has no right to use the M

Ship Co. Intellectual Property, and no right to permit others to use it.

       225.    At all relevant times, Defendant Glaros knew, or at the very least, should have

known, that Burns had no right to use, assign, or permit others to use or assign the M Ship Co.

Intellectual Property.

       226.    Upon information and belief, Glaros and Burns agreed, whether expressly or tacitly,

to wrongfully represent that Synexxus, Inc., and later, Synexxus Composites, owned all rights in

and to the M Ship Co. Intellectual Property, with the intent to fraudulently induce investors such

as Solan and Coughlin to invest in Synexxus Composites.

       227.    Solan and Coughlin relied on the false representations regarding the M Ship Co.

Intellectual Property when investing in Synexxus Composites, and have suffered millions of

dollars in damages as a proximate result as detailed herein.




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                    COUNT VII – BREACH OF CONTRACT
           COUGHLIN AGAINST DEFENDANTS GLAROS AND SYNEXXUS

       228.   Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

       229.   On or about April 29, 2019, Defendant Synexxus and Mr. Coughlin entered into an

employment agreement covering the terms of Mr. Coughlin’s employment. A true and correct

copy of that Agreement is attached hereto as Exhibit A.

       230.   Under the terms of the employment agreement, Mr. Coughlin was to be paid an

annual salary of $140,000.

       231.   Paragraph 1(b) of the employment agreement requires Defendant Synexxus to “pay

[Mr. Coughlin] (1) any compensation earned by Employee up through the date of termination as

provided for below in Section 3, payable in accordance with applicable law, and (2) [reimburse]

… any expenses Employee is entitled to as provided for below in Section 4.”

       232.   Synexxus breached the employment agreement when it failed to pay Mr. Coughlin

his full compensation earned through the date of his termination. To date, Synexxus has not made

any payment to Mr. Coughlin on or after his purported termination.

       233.   Synexxus breached the employment agreement when it failed to reimburse Mr.

Coughlin for all expenses incurred during the course of his employment, including a $20,000 loan

extended by Mr. Coughlin to Synexxus to secure an Integrity Pact Bank Guarantee.

       234.   Alternatively, to the extent Mr. Coughlin’s loan is not an expense under the

employment agreement, a valid contract exists between Defendants and Mr. Coughlin wherein

Defendants agreed to reimburse Mr. Coughlin for a $20,000 loan to the company to secure the

Integrity Pact Bank Guarantee.

       235.   Defendants breached the contract by failing to reimburse Mr. Coughlin the $20,000

he loaned Synexxus.

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       236.   Mr. Coughlin performed as agreed under all agreements with Defendants, including

by loaning Synexxus $20,000.

       237.   Mr. Coughlin has not received any payment or communication from Defendants

regarding any pending or future payments of past due wages, expenses or for the loan

reimbursement.

       238.   As a direct and proximate result of Defendants’ actions, Mr. Coughlin has suffered

and continues to suffer economic damages in an amount to be proven at trial.


                      COUNT VIII - FAILURE TO PAY WAGES
              COUGHLIN AGAINST DEFENDANTS GLAROS AND SYNEXXUS

       239.   Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

       240.   Upon termination of employment, an employee is entitled to all wages earned prior

to termination; these wages must be paid on or before the day the employee would have been paid

had employment not been terminated. Va. Code Ann. §40.1-29.

       241.   Mr. Coughlin worked for Defendant Synexxus from April 29, 2019 until he was

purportedly, and wrongfully, terminated from his employment on April 8, 2022.

       242.   Defendants have not paid Mr. Coughlin the earned wages due.

       243.   As a direct and proximate result of Defendants’ actions, Mr. Coughlin has suffered

and continues to suffer economic damages in an amount to be proven at trial.

      DERIVATIVE CLAIMS ON BEHALF OF SYNEXXUS COMPOSITES, LLC
       244.   Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

       245.   In addition to their claims above, Plaintiffs Solan and Coughlin bring a number of

derivative claims against Glaros on behalf of Synexxus Composites.

       246.   Plaintiffs have made no demand upon the Company to investigate and/or prosecute

the claims set forth herein; any such demand would be futile because Glaros is alleged to be one

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of the main wrongdoers in this action, and cannot make an independent evaluation of the claims

against him.

                           COUNT IX - CONVERSION
                SYNEXXUS COMPOSITES AGAINST ALL DEFENDANTS

       247.    Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

       248.    As detailed herein, Glaros, Synexxus, Inc. and Burns have all wrongfully taken and

retained funds from accounts belonging to Synexxus Composites.

       249.    Defendants Glaros and Burns are also taking excessive salaries, paid by Synexxus

Composites, at times where Synexxus Composites was essentially insolvent.

       250.    Glaros has been collecting a $300,000 - $400,000 salary per year.

       251.    Burns has been collecting a $250,000 salary.

       252.    As described herein, Glaros has also been paying excessive amounts of money from

Synexxus Composites accounts for personal expenses, including, but not limited to, payments for

his personal income and property tax liabilities.

       253.    As described herein, Synexxus, Inc. has been collecting a mark-up on salaried

employees with no return to Synexxus Composites, and has been paying expenses for projects

totally unrelated to Synexxus Composites from the Synexxus Composites account.

       254.    Defendants took these funds without privilege or justification, and retained them

for their own benefit.

                       COUNT X - UNJUST ENRICHMENT
                SYNEXXUS COMPOSITES AGAINST ALL DEFENDANTS

       255.    Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

       256.    As detailed herein, Glaros, Synexxus, Inc. and Burns have all wrongfully received

and retained funds from accounts belonging to Synexxus Composites.


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       257.    Defendants Glaros and Burns are also taking excessive salaries, paid by Synexxus

Composites, at times where Synexxus Composites was essentially insolvent.

       258.    Glaros has been collecting a $300,000 - $400,000 salary per year.

       259.    Burns has been collecting a $250,000 salary.

       260.    As described herein, Glaros has also been paying excessive amounts of money from

Synexxus Composites accounts for personal expenses, including, but not limited to, payments for

his personal income and property tax liabilities.

       261.    As described herein, Synexxus, Inc. has been collecting a mark-up on salaried

employees with no return to Synexxus Composites, and has been paying expenses for projects

totally unrelated to Synexxus Composites from the Synexxus Composites account.

       262.    Defendants took these funds without privilege or justification, and retained them

for their own benefit under circumstances that are manifestly unjust.

                     COUNT XI – MISAPPROPRIATION AND WASTE
                      SYNEXXUS COMPOSITES AGAINST GLAROS

       263.    Plaintiffs re-allege and incorporate all prior paragraphs as if set forth herein in full.

       264.    Defendant Glaros is in a position of trust and confidence and owes fiduciary duties

to Solan, Coughlin, and Synexxus Composites.

       265.    Glaros has betrayed that trust and breached his fiduciary duties to the Company and

its Members by misappropriating corporate funds for his own benefit.

       266.    In taking these actions, Glaros was acting for his own profit, benefit, personal

advantage, and financial gain in violation of his fiduciary duties to his fellow Members and the

Company.




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        267.    As a direct and proximate result of Glaros’ conversion of Synexxus Composites

funds for his own interests, Synexxus Composites has suffered, and continues to suffer, damages

in an amount to be determined at trial.

                                     PRAYER FOR RELIEF
        WHEREFORE, Plaintiffs respectfully seek judgment in their favor and against Defendants

for the following relief on behalf of each Plaintiff, and derivatively on behalf of Synexxus

Composites, LLC, for compensatory and punitive damages, treble damages where appropriate,

reasonable attorneys’ fees, including litigation costs and expenses, pre- and post-judgment interest,

and such other relief as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands trial by jury of all

issues triable by right of jury.


Dated: July 13, 2022                          Respectfully submitted,
                                              /s/     Broderick C. Dunn
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                                   Counsel for Plaintiffs Solan and Synexxus
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                                   /s/    Kraig D. Jennett_____________

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